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                      EXHIBIT 3
            FILED UNDER SEAL
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                o
                o Susan Wojicki (CEO, YouTube)

        With these additional custodians, Google has agreed to produce responsive non-privileged
 materials from 30 Google employees, including five individuals about which you inquired on
 December 17. We continue to evaluate the dozens of additional individuals you proposed during
 our December 17 call.

         Google is also prepared to accommodate your December 17 request to collect and produce
 priority and non-priority materials from all custodians, regardless of whether they are priority or
 non-priority custodians, so long as we can agree on a reasonable timeframe for such productions. 3

        Please let us know when you are available to discuss the scope and timing of the additional
 productions arising from your December 17 requests.

                           Information about Chats and Text Messages

        You have also asked for information about custodians’ chats and text messages. Google
 primarily uses the Google-developed “G Suite” solution for workplace productivity. G Suite is a
 cloud-based system that includes email (Gmail), chats (Hangouts/Hangouts Chats),
 storage/management (Drive), and other productivity applications (e.g., Sheets, Slides, Docs).
 Google Hangouts messages are generally retained for a period of 30 days if they have been marked
 on-the-record, and potentially longer if the custodian of the on-the-record messages are on legal
 hold. To the extent that a custodian has on-the-record responsive Hangout chat messages retained
 while on a legal hold or that were still retained pursuant to the 30-day retention policy at the time
 documents were collected pursuant to the CID, those messages will be included in productions to
 OAG.




 3
        For the avoidance of doubt, Google did not create the priority/non-priority distinction among
        custodians; the OAG sought production of information about priority topics by January 31 and
        production of non-priority topics at a later date. As is typical in preparing for a response to such a
        request, Google identified individuals that were likely to have relevant information about the
        priority topics, and individuals likely to have relevant information about the non-priority topics.
        The materials from the custodians Google proposed for the priority topics would then be produced
        by January 31; the materials from the custodians Google proposed for the non-priority topics would
        be produced afterwards. OAG then for the first time asked for priority information from non-
        priority custodians (and vice versa) during our December 17 call.
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       We appreciate the OAG’s continuing consideration and cooperation in this matter.

                                                           Cordially yours,



                                                           R. Paul Yetter


 cc:   Darren McCarty, Deputy Attorney General for Civil Litigation
       John Harkrider, Daniel Bitton, Axinn
       Wendy Huang Waszmer, Wilson Sonsini Goodrich & Rosati
